    Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 1 of 78



 

 

 

 

 

 

 

 

 



                       Exhibit 15
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 2 of 78




                                                               SED00001
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 3 of 78




                                                               SED00005
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 4 of 78




                                                               SED00441
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 5 of 78




                                                               SED00461
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 6 of 78




                                                               SED00462
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 7 of 78




                                                               SED00463
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 8 of 78




                                                               SED00464
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 9 of 78




                                                               SED00465
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 10 of 78




                                                                SED00673
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 11 of 78




                                                                SED00674
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 12 of 78




                                                                SED00705
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 13 of 78




                                                                SED00706
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 14 of 78




                                                                SED00731
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 15 of 78




                                                                SED00732
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 16 of 78




                                                                SED00733
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 17 of 78




                                                                SED00734
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 18 of 78




                                                                SED00735
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 19 of 78




                                                                SED00736
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 20 of 78




                                                                SED00737
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 21 of 78




                                                                SED00738
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 22 of 78




                                                                SED00739
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 23 of 78




                                                                SED00943
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 24 of 78




                                                                SED00944
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 25 of 78




                                                                SED00945
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 26 of 78




                                                                SED00951
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 27 of 78




                                                                SED00952
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 28 of 78




                                                                SED00997
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 29 of 78




                                                                SED00998
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 30 of 78




                                                                SED00999
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 31 of 78




                                                                SED01000
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 32 of 78




                                                                SED01001
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 33 of 78




                                                                SED01002
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 34 of 78




                                                                SED01003
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 35 of 78




                                                                SED01015
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 36 of 78




                                                                SED01162
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 37 of 78




                                                                SED01163
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 38 of 78




                                                                SED01164
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 39 of 78




                                                                SED01243
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 40 of 78




                                                                SED01244
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 41 of 78




                                                                SED01245
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 42 of 78




                                                                SED01246
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 43 of 78




                                                                SED01332
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 44 of 78




                                                                SED01360
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 45 of 78




                                                                SED01361
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 46 of 78




                                                                SED01362
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 47 of 78




                                                                SED01363
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 48 of 78




                                                                SED01364
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 49 of 78




                                                                SED01365
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 50 of 78




                                                                SED01366
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 51 of 78




                                                                SED01367
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 52 of 78




                                                                SED01368
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 53 of 78




                                                                SED01378
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 54 of 78




                                                                SED01379
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 55 of 78




                                                                SED01380
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 56 of 78




                                                                SED01381
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 57 of 78




                                                                SED01382
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 58 of 78




                                                                SED01383
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 59 of 78




                                                                SED01384
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 60 of 78




                                                                SED01385
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 61 of 78




                                                                SED01386
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 62 of 78




                                                                SED01387
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 63 of 78




                                                                SED01388
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 64 of 78




                                                                SED01389
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 65 of 78




                                                                SED01390
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 66 of 78




                                                                SED01391
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 67 of 78




                                                                SED01392
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 68 of 78




                                                                SED01393
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 69 of 78




                                                                SED01394
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 70 of 78




                                                                SED01395
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 71 of 78




                                                                SED01396
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 72 of 78




                                                                SED01397
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 73 of 78




                                                                SED01398
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 74 of 78




                                                                SED01399
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 75 of 78




                                                                SED01400
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 76 of 78




                                                                SED01401
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 77 of 78




                                                                SED01402
Case 1:15-cv-10533-PBS Document 73-3 Filed 11/03/16 Page 78 of 78




                                                                SED02382
